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THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

ST. JOHN MISSIONARY BAPTIST
CHURCH, INC.

Plaintiff,
Civil Action No.3 : l6-cV-03052-B

V.

GREAT AMERICAN INSURANCE
COMPANY

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Defendant.

JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

Plaintiff St. John Missionary Baptist Church, lnc. and Defendant Great American
Insurance Company (collectively, the “Parties”) hereby file this Joint Stipulation of Dismissal
With Prejudice pursuant to Federal Rule of Civil Procedure 4l(a)(l)(A)(ii) and Would
respectfully show the Court as follows:

The Parties have reached an agreement to settle the Plaintiff`s claims in the above~
referenced matter. Accordingly, the Parties file this Joint Stipulation of Dismissal With
Prejudice, With costs and attorneys’ fees to be borne by the party incurring the same. Plaintiff
and Defendant have respectively indicated their consent by signing belovv.

WHEREFORE PREMISES CONSIDERED, the Parties respectfully request that this
Court enter an Order dismissing this matter With prejudice, With costs and attorneys’ fees to be

borne by the party incurring the same.

JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

 

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Respectfully submitted,

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JOINT STIPULATION OF DISMISSAL WI'I`H PREJUDICE

 

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